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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
___________________________________
WILLIAM STOVALL,                    :
                                    :
            Petitioner,             :    Case No. 3:20-cv-1709 (BRM)
                                    :
      v.                            :
                                    :
JAMES SLAUGHTER, et al.,            :    MEMORANDUM AND ORDER
                                    :
            Respondents.            :
____________________________________:

       Petitioner William Stovall (“Petitioner” or “Stovall”) is proceeding pro se with a petition

for writ of habeas corpus pursuant to 28 U.S.C. § 2254. (See ECF 1.) Petitioner is challenging his

convictions on numerous charges from Mercer County in 1994. On August 19, 2020, Petitioner

informed this Court that his current address is at the State Correctional Institution Camp Hill in

Camp Hill, Pennsylvania. (See ECF 11.) Since that time, numerous pieces of mail have been

returned to this Court has undeliverable. (See ECF 13, 14, 15 and 18.)

       A review of the Pennsylvania Department of Corrections inmate locator indicates

Petitioner is still incarcerated at SCI Camp Hill. See http://inmatelocator.cor.pa.gov/#/Result (last

visited October 20, 2020). However, it appears Petitioner’s notice of change of address dated

August 19, 2020 did not include the proper mailing address for SCI Camp Hill. Therefore, the

Clerk shall edit Petitioner’s address of record so he can properly receive correspondence from this

Court and Respondents.

       On September 18, 2020, Respondents filed a motion to dismiss Petitioner’s habeas petition

along with numerous corresponding exhibits. (See ECF 16.) However, their certificate of service

indicates an incorrect mailing address for Petitioner at SCI Camp Hill. Accordingly, this Court

orders Respondents to reserve its motion to dismiss (along with all corresponding exhibits) on
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Petitioner within fourteen (14) days of date of this order at the address of record listed in this order

for Petitioner. Respondents shall file a certificate of service within fourteen (14) days of reserving

Petitioner their motion to dismiss. Petitioner shall have thirty (30) days after being served the

motion to dismiss to file a response to the motion. Respondents shall thereafter have fourteen (14)

days to file a reply brief should they elect to do so.

        Additionally, it appears Respondents’ counsel never entered a notice of appearance despite

filing a motion to dismiss. Accordingly, Respondents’ counsel shall enter a notice of appearance

in this case within fourteen (14) days of the date of this order. Accordingly,

        IT IS on this 20th day of October 2020,

        ORDERED the Clerk shall replace Petitioner’s address of record as follows: William

Stovall, AM 3000, SCI Camp Hill, P.O. Box 8837, 2500 Lisburn Road, Camp Hill, PA 17001; and

it is further

        ORDERED Respondents’ counsel shall enter a notice of appearance within fourteen (14)

days of the date of this order; and it is further

        ORDERED Respondents shall serve their motion to dismiss and corresponding exhibits

(ECF 16) on Petitioner at his new address of record within fourteen (14) days of the date of this

order and shall file a certificate of service with this Court also within fourteen (14) days of the date

of this order; and it is further

        ORDERED the Clerk shall serve this order on Petitioner at his new address of record by

regular U.S. mail; and it is further




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       ORDERED the Clerk shall serve this order on Respondents’ counsel by regular U.S. mail

at Office of the Mercer County Prosecutor, Attn: Mary Stevens, Esq., 209 S. Broad St., 3d Floor,

P.O. Box 8068, Trenton, NJ 08650-0068.



                                                           /s/Brian R. Martinotti
                                                           BRIAN R. MARTINOTTI
                                                           UNITED STATES DISTRICT JUDGE




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